Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 1 of 13 PageID 109



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF FLORIDA (TAMPA)


     TRANQUIL BLUE CORP., ET AL.

                       v.                            Case No. 8:16-cv-01217-JSM-TBM

            SHUHART, ET AL.


                                   DEFENDANT’S ANSWER

       Defendant Michael Ryan Shuhart (“Defendant”), through undersigned counsel, hereby

responds to Tranquil Blue Corp, et al. (“Plaintiffs”) as follows:

1.     Defendant is without knowledge or information sufficient to form a belief as to the truth

       of the allegations. To the extent a response is required, the statements of that paragraph

       are denied.

2.     Defendant is without knowledge or information sufficient to form a belief as to the truth

       of the allegations. To the extent a response is required, the statements of that paragraph

       are denied.

3.     Admitted.

4.     Defendant is without knowledge or information sufficient to form a belief as to the truth

       of the allegations. To the extent a response is required, the statements of that paragraph

       are denied.

5.     The allegations of this paragraph are conclusions of law to which no response is required.

       To the extent a response is required, the statements of that paragraph are denied.

6.     The allegations of this paragraph are conclusions of law to which no response is required.

       To the extent a response is required, the statements of that paragraph are denied.




                                                 1
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 2 of 13 PageID 110



7.    The allegations of this paragraph are conclusions of law to which no response is required.

      To the extent a response is required, the statements of that paragraph are denied.

                       ALLEGATIONS GIVING RISE TO ALL COUNTS

8.    Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

9.    Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

10.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

11.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

12.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

13.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.




                                               2
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 3 of 13 PageID 111



14.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

15.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

16.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

17.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

18.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

19.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

20.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.




                                               3
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 4 of 13 PageID 112



21.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

22.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

23.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

24.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

25.   Denied.

26.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

27.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

28.   Denied.

29.   Denied.

30.   Denied.

31.   Denied.



                                               4
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 5 of 13 PageID 113



32.   Denied.

33.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

34.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

35.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

36.   Denied.

37.   Denied.

38.   Denied.

39.   Denied.

40.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

41.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

42.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.



                                               5
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 6 of 13 PageID 114



43.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

44.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

45.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

46.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

47.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

48.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

49.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.




                                               6
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 7 of 13 PageID 115



50.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

51.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

52.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

53.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

54.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

55.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

56.   Denied.

57.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.




                                               7
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 8 of 13 PageID 116



58.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

59.   Admitted.

60.   Denied.

61.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

62.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

63.   Denied.

64.   Denied.

65.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.

66.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.

67.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.




                                               8
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 9 of 13 PageID 117



68.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

69.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.

70.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      website developer’s actions, Defendant is without knowledge or information sufficient to

      form a belief as to the truth of the allegations.

71.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.

72.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.

73.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

      actions, Defendant is without knowledge or information sufficient to form a belief as to

      the truth of the allegations.

74.   Denied.

75.   Defendant is without knowledge or information sufficient to form a belief as to the truth

      of the allegations. To the extent a response is required, the statements of that paragraph

      are denied.




                                                 9
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 10 of 13 PageID 118



 76.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

       actions, Defendant is without knowledge or information sufficient to form a belief as to

       the truth of the allegations.

 77.   Denied.

 78.   Denied as to any implication of wrongdoing on the part of Defendant. As to Plaintiff’s

       actions, Defendant is without knowledge or information sufficient to form a belief as to

       the truth of the allegations.

 79.   Denied.

 80.   Denied.

 81.   The allegations of this paragraph are conclusions of law to which no response is required.

       To the extent a response is required, the statements of that paragraph are denied.

 82.   Denied.

                                               COUNT I

 83.   Denied.

 84.   The allegations of this paragraph are conclusions of law to which no response is required.

       To the extent a response is required, the statements of that paragraph are denied.

 85.   Denied.

 86.   Denied.

 87.   Denied.

 88.   Denied.

 89.   Denied.

 90.   Denied.

 91.   Denied.



                                               10
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 11 of 13 PageID 119



 92.    Denied.

 93.    Denied.

                                                COUNT II

 94.    Denied.

 95.    The allegations of this paragraph are conclusions of law to which no response is required.

        To the extent a response is required, the statements of that paragraph are denied.

 96.    Denied.

 97.    Denied.

 98.    Denied.

 99.    Denied.

 100.   Denied

                                               COUNT III

 101.   Denied.

 102.   The allegations of this paragraph are conclusions of law to which no response is required.

        To the extent a response is required, the statements of that paragraph are denied.

 103.   Denied.

 104.   Denied.

 105.   Denied.

 106.   Defendant is without knowledge or information sufficient to form a belief as to the truth

        of the allegations. To the extent a response is required, the statements of that paragraph

        are denied.

                                                COUNT IV

 107.   Denied.



                                                 11
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 12 of 13 PageID 120



 108.   The allegations of this paragraph are conclusions of law to which no response is required.

        To the extent a response is required, the statements of that paragraph are denied.

 109.   Denied.

 110.   Denied.

 111.   Denied.

 112.   Denied.

                                                COUNT V

 113.   Denied.

 114.   The allegations of this paragraph are conclusions of law to which no response is required.

        To the extent a response is required, the statements of that paragraph are denied.

 115.   Denied.

 116.   Denied.

 117.   Denied.

 118.   Denied.

                                      AFFIRMATIVE DEFENSES

        Defendant further defends based on the following affirmative defenses:

                               First Affirmative Defense: Waiver

 1.     If Plaintiffs ever had any legal right to preclude Defendant’s use of the purported marks,

 Plaintiffs freely and knowingly gave up their rights by waiving any rights they previously held.

 2.     Defendant relied upon Plaintiffs’ waiver of any rights, and such waiver cannot now be

 reneged given Defendant’s detrimental reliance on Plaintiffs’ waiver of rights.




                                                12
Case 8:16-cv-01217-JSM-TBM Document 19 Filed 07/26/16 Page 13 of 13 PageID 121



                             Second Affirmative Defense: Acquiescence

 3.      Plaintiffs, as well as agents acting under their control, expressly, or by clear implication,

 assented to, encouraged, or furthered Defendant’s actions prior to this lawsuit, but now state an

 objection to Defendant’s fair use.

                             Third Affirmative Defense: Express License

 4.      Plaintiffs expressly licensed Defendant to use the purported marks, and Defendant used

 the marks subject to that license.

                            Fourth Affirmative Defense: Implied License

 5.      In the alternative, Plaintiffs’ failure to police their marks, acquiescence to Defendant’s

 use, and failure to act led to an implied license in Defendant’s use of the marks.

 6.      Defendant detrimentally relied upon the implied license in creating, developing, and

 maintaining his business.



 Respectfully submitted,

 /s/Eric J. Menhart*
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 * Admitted Pro Hac Vice

 Attorney for Defendant Michael Shuhart


                                    CERTIFICATE OF SERVICE

         I hereby certify that, on the date of this filing, a copy of the foregoing was served via the
 court’s electronic filing system and all parties were serve thereto.

 /s/Eric J. Menhart
 Eric Menhart, Esq.


                                                    13
